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 4                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF CALIFORNIA
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 6
      UNITED STATES OF AMERICA,                      1:06-CR-00269-01-DAD
 7
                 Plaintiff,                         ORDER GRANTING JOINT
 8                                                  APPLICATION TO CONFORM
           v.                                       WRITTEN JUDGMENT TO ORAL
 9                                                  PRONOUNCEMENT
      MANUEL BURCIAGA,
10
                 Defendant.
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13          For good cause shown, the parties’ Joint Application to Conform Written Judgment to

14   Oral Pronouncement is hereby GRANTED. The judgment shall be amended so that Special

15   Condition Number Six shall provide as follows:

16                 6.       The defendant shall be monitored for a period of up to 6 months, at the
17                 discretion of the U.S. Probation Office, with location monitoring technology,
                   which may include the use of radio frequency (RF) or Global Positioning System
18                 (GPS) devices, at the discretion of the probation officer. The defendant shall abide
                   by all technology requirements and shall pay the costs of location monitoring
19                 based upon their ability to pay as directed by the probation officer. In addition to
                   other court-imposed conditions of release, the defendant’s movement in the
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                   community shall be restricted as follows:
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                              a.    The defendant shall be restricted to his residence as directed by the
22                                  probation officer. (Curfew)

23   IT IS SO ORDERED.
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        Dated:    November 2, 2020
25                                                      UNITED STATES DISTRICT JUDGE

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